   Case 1:18-cv-07261-RJD-VMS Document 37 Filed 11/26/19 Page 1 of 2 PageID #: 534
Record of Conference and Orders; Vera M.Scanlon« USMJ                                                  Date: 11/26/2019

Case: Riseboro Comtv P'shio Inc. v. SunAm. Housing Fund No.682 et al                                   Status Conference @ 12:45

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ECF Recording in 13A South:                                   □ Telephone Conference                            person Conference

                                                                               1:0 6'
Counsel?^
       (See separately docket entry or documentfor specific appearance

V'^oims
  Counsel for Plaintiff(s) □ Pro Se Plaintiff(s)l»<!ounsel for Defendant(s) □ Pro Se Defendant(s)
Conference Type:


□ Initial Conference V^tus Conference □ Settlement Conference □ Motion Hearing b^Ji^overy Conference □
□ JPTO Conference                □ Other

Further to the conference, discovery and other scheduling dates are as follows:
(Ifdates previously set by the Court are not reset, they remain as stated in the previous order.)
  □ Motions decided on the record



 □ Rule 26(a) disclosures, incl. supplements
 □ Document requests to be served
 □ Interrogatories to be served
 □ Amended pleadings, incl. joinder                                        □ To be served             □ To be filed

            □ Complaint □ Answer                                           □ On consent □ By motion □ By PMC letter
 □ Joint status letter □ Stip of dismissal to be filed
 □ Status conference                                                       Date:                      Time:

            □ In person □ Telephone (718) 613-2300                         To be organized by:
 □ Specific depositions to be held
 □ Fact discovery closes
 □ Expert disclosures to be served
 □ Initial expert report(s) to be served
 □ Rebuttal expert report(s) to be served
 □ Expert discovery closes
 □ All discovery closes
 □ Joint letter confinning discovery is concluded
 □ Summary judgment to be initiated                                        □ PMC letter □ Brie fing
 □ Joint pre-trial order to be filed                                       □ Letter for conferen ce □ Proposed JPTO
 □ Proposed confidentiality order to be filed
 □ Consent to Magistrate Judge to be filed
 □ Settlement Conference                                                   Date:                        Time:


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  Case 1:18-cv-07261-RJD-VMS Document 37 Filed 11/26/19 Page 2 of 2 PageID #: 535
                                         Vera M.Scanlon, USMJ
                                      Conference Orders, Continued

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Date: 11/26/2019


Additional Orders;




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